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                       Exhibit A
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Borrower Defense - Quarterly Report - for quarter end 9/30/2021*

 Total Received Applications                                                         399,259                    Total Amount Discharged**                                                                          $1,211,472,400

 Total Pending Applications, Awaiting Adjudication***                                  87,747                   Percentage of the total approved applications receiving partial discharge                                  10.0%

 Total Adjudicated Applications, Pending Notification                                  45,782                   Percentage of the total approved Applications receiving 100% discharge                                     90.0%

 Total Approved Applications                                                         115,955                    Total dollar amount of outstanding debt prior to discharge                                         $1,425,693,856

 Total Denied Applications                                                           137,438                    Median dollar amount of outstanding debt prior to discharge                                               $10,166

 Total Closed Applications                                                             12,337                   Median loan debt remaining for applications receiving partial discharge                                    $8,574




 State Level Breakouts:
              Total Received Applications                  Total Pending Applications, Awaiting Adjudication      Total Adjudicated Applications, Pending Notification                  Total Approved Applications
     Borrower State of     Application   Change since         Borrower State of    Application   Change since      Borrower State of    Application    Change since Last     Borrower State of    Application   Change since Last
        Residence            Count        Last Month             Residence           Count       Last Quarter         Residence           Count            Quarter              Residence           Count           Quarter
 TOTAL                        399,259         13,577      TOTAL                        87,747          13,837   TOTAL                        45,782              (8,685)   TOTAL                     115,955              21,171
 California                    76,104          2,293      California                   11,843           1,533   California                    9,099                 205    California                 30,804               2,786
 Florida                       35,128          1,352      Texas                         7,826           1,342   Florida                       4,331                (583)   Florida                     9,220               1,823
 Texas                         33,111          1,157      Florida                       7,007           1,308   Texas                         3,916                (657)   Texas                       8,463               1,623
 Illinois                      19,615            594      Illinois                      4,778             654   Illinois                      1,759                (530)   Illinois                    5,263               1,061
 Georgia                       18,653            636      Georgia                       4,318             790   Georgia                       1,742                (212)   Georgia                     5,066                 621
 Ohio                          12,984            419      Ohio                          3,686             443   Ohio                          1,561                (635)   Washington                  4,997                 566
 New York                      12,414            411      New York                      3,394             486   Michigan                      1,378                (606)   Massachusetts               4,745                 277
 Pennsylvania                  12,186            371      Pennsylvania                  3,194             441   Pennsylvania                  1,372                (341)   Michigan                    3,963               1,030
 Washington                    11,904            274      North Carolina                2,871             504   North Carolina                1,298                (287)   Ohio                        3,094               1,058
 Michigan                      11,164            387      Arizona                       2,585             371   New York                      1,272                (190)   Virginia                    2,862                 663
 North Carolina                10,743            375      New Jersey                    2,442             305   Indiana                       1,208                (408)   North Carolina              2,808                 511
 Virginia                       9,262            270      Indiana                       2,170             230   Virginia                      1,110                (350)   Pennsylvania                2,669                 670
 Massachusetts                  8,753            138      Michigan                      1,943             315   Washington                    1,093                (229)   New York                    2,181                 496
 Arizona                        8,509            299      Virginia                      1,880             302   Tennessee                     1,046                (431)   Missouri                    2,051                 552
 Indiana                        8,295            263      Colorado                      1,756             261   Missouri                      1,019                (312)   Oregon                      1,865                 271
 Missouri                       7,849            261      Washington                    1,697             228   Arizona                         920                (202)   Indiana                     1,860                 696
 Tennessee                      6,949            317      Missouri                      1,682             276   Maryland                        907                (269)   Colorado                    1,824                 377
 Colorado                       6,927            235      Tennessee                     1,682             345   Minnesota                       867                 (76)   Hawaii                      1,601                  51
 New Jersey                     6,818            211      Maryland                      1,581             242   Colorado                        760                (107)   Tennessee                   1,423                 713
 Maryland                       6,477            209      Massachusetts                 1,575             134   Wisconsin                        719              (262)    Nevada                      1,398                 377
 Minnesota                      6,069            140      Kentucky                      1,551             144   Nevada                          696                (161)   Minnesota                   1,345                 164
 Nevada                         5,604            191      South Carolina                1,549             281   South Carolina                  675                (171)   Maryland                    1,335                 434
 Oregon                         5,467            154      Minnesota                     1,468             209   Alabama                         614                (333)   Arizona                     1,267                 474
 South Carolina                 5,376            237      Alabama                       1,247             267   Oklahoma                        566                (107)   New Jersey                  1,254                 134
 Alabama                        5,015            245      Nevada                        1,242             192   Oregon                          549                 (91)   Alabama                     1,194                 519
 Wisconsin                      4,885            153      Wisconsin                     1,097             145   Massachusetts                   504                (118)   South Carolina              1,089                 329
 Kentucky                       4,248            147      Oregon                          889             129   Kentucky                        466                (257)   Mississippi                 1,056                  84
 Louisiana                      3,730            140      Louisiana                       796             170   New Jersey                      465                 (45)   Wisconsin                     910                 457
 Hawaii                         3,200             80      Utah                            760             106   Louisiana                       449                (162)   Louisiana                     888                 284
 Mississippi                    3,063            103      Oklahoma                        679             159   Kansas                          361                 (96)   Kentucky                      867                 394
 Oklahoma                       2,861            136      Connecticut                     651             148   Utah                            309                (140)   Utah                          678                 231
 Utah                           2,692             93      Kansas                          607              71   Mississippi                     301                 (37)   West Virginia                 661                  80
 Kansas                         2,311             73      Iowa                            521             102   Hawaii                          274                   35   Arkansas                      602                 119
 Arkansas                       2,156             60      Mississippi                     514             146   Arkansas                        245                 (56)   Oklahoma                      513                 216
 Connecticut                    2,030             78      Idaho                           450              56   Connecticut                     234                 -      Kansas                        446                 157
 Iowa                           1,908             65      New Mexico                      427              51   Nebraska                        190                 (80)   Iowa                          404                 105
 West Virginia                  1,818             54      Arkansas                        382              83   New Mexico                      188                (114)   Idaho                         392                 147
 New Mexico                     1,591             56      West Virginia                   343              85   Idaho                           187                 (77)   New Mexico                    357                 181
 Idaho                          1,569             51      Nebraska                        270              34   Iowa                            171                 (68)   Nebraska                      323                 129
 Nebraska                       1,273             32      Delaware                        229              43   West Virginia                   137                 (47)   Connecticut                   296                  41
 District of Columbia             922             29      Hawaii                          224              52   Delaware                        104                 (12)   District of Columbia          221                  39
 New Hampshire                    828             24      New Hampshire                   192              39   District of Columbia             91                 (19)   Wyoming                       207                  10
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         Delaware                               792                29        Maine                                  189                  45        Rhode Island                            86                     (13)        New Hampshire                  203                        39
         Maine                                  703                28        District of Columbia                   175                  30        Montana                                 76                     -           Montana                        174                        38
         Montana                                672                36        Montana                                163                  17        New Hampshire                           68                     (14)        Delaware                       154                        29
         Rhode Island                           581                25        South Dakota                           148                  24        Maine                                   65                     -           Maine                          141                        10
         South Dakota                           530                11        Rhode Island                           146                  32        North Dakota                            56                     -           Foreign Country                129                    -
         Wyoming                                504                11        Wyoming                                104                  17        South Dakota                            47                     -           Alaska                         112                    -
         Alaska                                 430                20        Alaska                                  90                  15        Alaska                                  41                     -           North Dakota                   110                        17
         North Dakota                           401                13        North Dakota                            84                  11        Wyoming                                  40                    -           South Dakota                   108                    -
         Foreign Country                        256              -           Puerto Rico                             67                  22        Vermont                                  33                    -           Rhode Island                    96                        20
         Vermont                                238              -           Vermont                                 45                 -          Less than 30                            117                     (20)       Vermont                         64                    -
         Puerto Rico                            184              -           Less than 30                            538                 402                                                                                  US Virgin Islands               42                    -
         US Virgin Islands                       98              -                                                                                                                                                            Armed Forces Euro               34                        34
         Armed Forces Europe                     88              -                                                                                                                                                            Less than 30                    126                        34
         Armed Forces Pacific                    50              -
         Federated Micronesia                    48              -
         Guam                                    31              -
         Less than 30                         1,192              591

*NOTES
         Enhanced functionality, now available in borrower defense system, Customer Engagement Management System (CEMS), allows the U.S. Department of Education (ED) to more quickly identify potential duplicate Applications. As a result, the methodology of this report
         Outstanding and remaining debt amounts exclude consolidation loans and loans previously paid off by consolidation.

            As referenced in the letter submitted from ED regarding the 6/30/2018 Borrower Defense Quarterly Congressional report, data provided at the state level presents an inadvertent disclosure risk. Therefore, the state data for received applications has not been updated
            in the event that the borrower count has changed less than ten since the previous report. Application status counts by state have not been updated in the event the borrower count has changed less than ten or if the discharged dollar amount has changed less than
            $35,000. These changes are included in the bucket, "Less than 30" or "Less than $100,000" as to not impact the total numbers. These buckets also include those applications for which no borrower address is reported.

            **Discharged dollar amounts, total dollar amount of outstanding debt prior to discharge, median dollar amount of outstanding debt prior to discharge and median loan debt for applications receiving partial discharge remaining reflect those approved applications for
            which a discharge has been processed. It typically takes 90-120 days from the approval notification until the borrower's discharge is processed. This includes the values referenced: Total Amount Discharged, Total dollar amount of outstanding debt prior to discharge,
            Median dollar amount of outstanding debt prior to discharge, and Median loan debt remaining for applications receiving partial discharge. Discharge data is sourced from the Enterprise Data Warehouse and leverages the most recent address of the borrower, which
            could result in changes by state if a borrower relocates.




         Data Descriptions:
            Total Received Applications: Total count of individual applications received by ED that have passed initial intake reviews and deemed ready for further review and adjudication.
            Total Pending Applications, Awaiting Adjudication: Total count of applications under review prior to a determination.
            Total Adjudicated Applications, Pending Notification: Total count of applications for which a determination has been made, but the borrower notification has not been sent.   (Please note that the count includes approximately 37k applications which are pending court
            approval of relief methodology.)

            Total Approved Applications: Total count of applications approved or preliminarily approved for discharge in which the borrower notification has been sent.
            Total Denied Applications: Total count of applications denied for discharge in which the borrower notification has been sent.
            Total Closed Applications: Total count of applications closed with no need for adjudication. (e.g. borrower requests that ED stop processing application or the borrower receives another benefit such as loan forgiveness or discharge.)
            Total Amount of Discharges: Total dollar amount associated with approved applications for which the discharge has been processed.

         Sources:
           CEMS Borrower Defense System
           Enterprise Data Warehouse (EDWA)
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               Total Denied Applications                                  Total Closed Applications                                        Total Amount Discharged**
  Borrower State of      Application       Change since       Borrower State of     Application       Change since                                                          Change since Last
                                                                                                                      Borrower State of Residence       Total Discharged
     Residence             Count           Last Quarter          Residence            Count           Last Quarter                                                              Quarter
TOTAL                         137,438                  25   TOTAL                         12,337              380     Total Discharged              $       1,211,472,400   $    134,896,925
California                       21200             -        California                     3,158                37    California                    $         351,091,050   $     21,482,078
Florida                          13772             -        Texas                            906                35    Florida                       $          96,834,634   $     10,548,144
Texas                            12000             -        Florida                          798                36    Texas                         $          70,182,273   $      6,922,032
Illinois                          7289             -        Georgia                          619                20    Georgia                       $          51,854,669   $      2,544,036
Georgia                           6908             -        Illinois                         526                20    Washington                    $          47,291,631   $      3,840,921
New York                          5190             -        New York                         377                17    Massachusetts                 $          45,525,545   $     12,298,359
Pennsylvania                      4631             -        Ohio                             368                13    Illinois                      $          42,562,966   $      7,738,822
Ohio                              4275             -        Pennsylvania                     320              -       Michigan                      $          40,462,435   $     13,041,275
Washington                        3815             -        North Carolina                   312                14    North Carolina                $          38,665,850   $      4,304,124
Michigan                          3616             -        Washington                        302             -       Pennsylvania                  $          33,649,659   $      6,238,942
Arizona                           3548             -        Massachusetts                    275              -       Ohio                          $          28,974,671   $      3,821,545
North Carolina                    3454             -        Michigan                         264                15    Virginia                      $          28,006,618   $      3,052,777
Virginia                          3160             -        Hawaii                           251              -       New York                      $          25,633,548   $      1,741,718
Missouri                          2876             -        Virginia                          250                11   Missouri                      $          21,972,690   $      5,285,430
Indiana                           2868             -        Missouri                         221              -       Hawaii                        $          21,460,343   $        269,142
Tennessee                         2648             -        Arizona                          189                20    Oregon                        $          21,174,304   $        890,590
New Jersey                        2510             -        Indiana                          189              -       Nevada                        $          18,444,498   $      2,885,935
Maryland                          2468             -        Maryland                         186                10    Indiana                       $          18,016,232   $      2,005,344
Colorado                          2443             -        Minnesota                        173              -       Colorado                      $          16,819,609   $      1,302,867
Minnesota                         2216             -        Oregon                           170                16    South Carolina                $          14,554,647   $      1,589,512
Nevada                            2119             -        Alabama                          158              -       New Jersey                    $          13,451,959   $      1,664,986
Wisconsin                         2024             -        Tennessee                        150              -       Mississippi                   $          13,409,977   $        402,210
Oregon                            1994             -        Nevada                           149              -       Tennessee                     $          13,150,381   $      1,476,166
South Carolina                    1947             -        New Jersey                       147              -       Maryland                      $          12,936,872   $      1,712,596
Alabama                           1802             -        Colorado                         144                12    Minnesota                     $          12,011,499   $      2,046,622
Massachusetts                     1654             -        Mississippi                      143              -       Arizona                       $           8,821,975   $      1,235,174
Louisiana                         1505             -        Wisconsin                         135             -       Alabama                       $           8,578,982   $        758,931
Kentucky                          1255             -        South Carolina                   116              -       Louisiana                     $           8,521,439   $        534,423
Mississippi                       1049             -        Kentucky                         109              -       Wisconsin                     $           8,026,152   $      1,985,055
Oklahoma                          1020             -        Louisiana                         92              -       Kentucky                      $           7,832,878   $      1,028,838
Utah                               888             -        Oklahoma                          83              -       Arkansas                      $           6,970,264   $        935,306
Arkansas                           851             -        Arkansas                          76              -       Utah                          $           6,499,914   $      1,595,191
Hawaii                             850             -        Iowa                              58                13    West Virginia                 $           6,312,338   $        495,973
Kansas                             842             -        Utah                              57              -       Oklahoma                      $           5,176,637   $      1,176,985
Connecticut                        805             -        Kansas                            55                11    Kansas                        $           4,987,094   $        901,865
Iowa                               754             -        West Virginia                      55             -       Iowa                          $           4,036,946   $        364,672
West Virginia                      622             -        Connecticut                       44              -       New Mexico                    $           3,611,152   $      1,181,317
New Mexico                         594             -        District of Columbia              32              -       Idaho                         $           3,487,375   $        669,263
Idaho                              510             -        Nebraska                          31              -       Nebraska                      $           3,459,047   $        967,445
Nebraska                           459             -        Idaho                             30                30    Connecticut                   $           3,329,774   $        236,457
District of Columbia               403             -        Less than 30                      619                50   Wyoming                       $           3,130,170   $        162,121
New Hampshire                      341             -                                                                  Foreign Country               $           3,060,882   $         71,031
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Delaware              286   -                                  New Hampshire          $   2,491,017   $   482,042
Maine                 284   -                                  Montana                $   2,046,282   $    69,042
Montana               243   -                                  Maine                  $   1,922,176   $   273,223
Rhode Island          237   -                                  South Dakota           $   1,585,286   $    83,618
South Dakota          209   -                                  Delaware               $   1,537,722   $    52,803
Alaska                155   -                                  Rhode Island           $   1,476,906   $   259,409
North Dakota          146   -                                  District of Columbia   $   1,403,767   $       -
Wyoming               135   -                                  North Dakota           $   1,281,781   $       -
Vermont                82   -                                  Vermont                $   1,074,065   $   182,394
Puerto Rico            80   -                                  Alaska                 $     990,422   $    38,756
Foreign Country        73   -                                  US Virgin Islands      $     880,742   $       -
US Virgin Islands      35   -                                  Guam                   $     225,183   $       -
Armed Forces Europe    30   -                                  Puerto Rico            $     120,856   $       -
Less than 30          268       25                             Less than $100,000     $     454,616   $    49,418
